Case 3:17-cv-00072-NKM-JCH Document 531 Filed 07/25/19 Page 1 of 4 Pageid#: 5967




                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA



   ELIZABETH SINES et al.                             :       Case No. 3:17-cv-00072

                  Plaintiffs                          :       Judge MOON
                                                              Mag. Judge HOPPE

                                                      :
          -v-

   JASON KESSLER et al.                               :

                                                      :
                  Defendants

   _______________________________________________________

        BRIEF IN SUPPORT OF MOTION TO WITHDRAW AS COUNSEL
   _______________________________________________________



   A. Robert Ray

          Defendant Robert Ray has not been available by phone or email for most of this case.

   Rather, Counsel had to request contact through an alternative means (an online Alt-Right

   comment area) and Mr. Ray would then call. For more than 6 weeks, Mr. Ray has been absent

   from said comment area. Mr. Woodard and Mr. Kolenich (“Attorney’s”) have not heard from

   Mr. Ray in at least that amount of time.




                                                 1
Case 3:17-cv-00072-NKM-JCH Document 531 Filed 07/25/19 Page 2 of 4 Pageid#: 5968




            Accordingly, and pursuant to the law of the case 1, Mr. Ray’s failure to communicate

   with Attorney’s is sufficient cause to permit Attorney’s to withdraw from representing Mr.

   Ray.

   B. Christopher Cantwell

            Mr. Cantwell was an inmate at Albemarle County jail when Attorney’s first met him.

   He was charged with violent offenses at that time. Through the superior efforts of Attorney

   Woodard, Mr. Cantwell eventually was convicted of only minor offenses. 2 In the immediate

   aftermath of the Unite the Right Rally in August 2017, Mr. Cantwell invited a reporter and

   camera crew into his hotel room and displayed a bed full of firearms. 3 Mr. Cantwell’s above

   mentioned criminal cases stemmed from his actions during Unite the Right in 2017.

            More recently, Mr. Cantwell has sent allegedly threatening internet communications

   directed at Ms. Kaplan, lead attorney for the Plaintiff’s. 4 As a result, Mr. Cantwell has

   rendered Attorney’s continued representation of him unreasonably difficult, 5 has created a

   conflict of interest between himself and Attorney’s other clients, 6 and has engaged in conduct

   Attorney’s consider “repugnant or imprudent”. 7 Finally, all these stated reasons should be

   found to add up to “other good cause” to withdraw within the meaning Virginia Professional

   Guidelines. 8


   1
     See Docket Entry 347 allowing Attorney’s to withdraw from representing defendant Elliott Kline.
   2
     Mr. Cantwell has not bothered to pay his attorney fee due for said services.
   3
     Interview occurred August 13, 2017 and aired August 14, 2017.
   4
     The nature of the communication is detailed in docket entry’s 511 and 523 filed by Plaintiff’s.
   5
     Ms. Kaplan and her team have extended a considerable amount of professional courtesy to Attorney’s during
   this litigation. It is hard to see how they could continue to do so if we are forced to defend this latest outburst by
   Mr. Cantwell. Moreover, Attorney’s are at a loss as to how we would be able to argue Ms. Kaplan’s concerns
   and requests for relief as expressed to the Court are unreasonable. See also Virginia Professional Guideline
   1.16(b)(5).
   6
     Same reason as in Footnote 5. Further and in order to preserve confidentiality, Attorney’s can only state that
   Mr. Cantwell’s recent behavior is extremely difficult to square with overall defense strategy and best practices as
   to this case.
   7
     Virginia Professional Guideline 1.16(b)(3) in that he has arguably caused a fellow Attorney to have concerns
   for her safety.
   8
     The Court should not expect Attorney’s to continue to represent a party who is both degrading our other clients
   chances in this litigation and arguably threatening another Attorney involved in the case.
                                                             2
Case 3:17-cv-00072-NKM-JCH Document 531 Filed 07/25/19 Page 3 of 4 Pageid#: 5969




            In addition to all of the above, Mr. Cantwell has made no effort to pay his outstanding

   fee invoices after having been repeatedly warned Attorney’s would seek to withdraw if he did

   not do so.

            Attorney’s are aware of the Court’s strong preference for completion of electronic

   discovery review prior to permitting any further Attorney withdrawals. Attorney’s will,

   therefore, complete work on and authorize production of Mr. Ray’s and Mr. Cantwell’s ESI

   collections no later than the date responsive pleadings are due in regard to this motion. 9

            Attorney’s respectfully move that Mr. Ray and Mr. Cantwell each be given fourteen

   (14) days from the date the Court grants this motion to retain new counsel and that Mr.

   Cantwell be given that same 14 days (not 14 extra days unless he retains new Counsel) to

   respond to the Plaintiff’s motion to enjoin him. Attorney’s further request the Court make

   interim orders protecting Ms. Kaplan during that time period.

            The granting of this motion will not inconvenience the Court or other parties given

   that the case remains mired in the ESI discovery process and we do not even have an

   operative scheduling order at this point. 10

            In addition, Attorney’s reasonably believe this will be the last time they will need to

   move to withdraw from a client during this litigation.


                                                 Respectfully Submitted,



                                                 s/ Elmer Woodard_____________
                                                 Elmer Woodard (VSB No. 27734)
                                                 5661 US Hwy 29
                                                 Blairs, VA 24527
                                                 Phone: 434-878-3422
                                                 Email : isuecrooks@comcast.net

   9
     If either Ray or Cantwell forbids us to do so, Attorneys will so advise the Court and assert that additional
   ground in support of withdrawal.
   10
      See docket entry 524, filed by Plaintiff’s, discussing current case status in more detail.
                                                            3
Case 3:17-cv-00072-NKM-JCH Document 531 Filed 07/25/19 Page 4 of 4 Pageid#: 5970




                                             Attorney for Robert Ray and Christopher Cantwell

                                             s/ James E. Kolenich_PHV_
                                             James E. Kolenich (OH 77084)
                                             KOLENICH LAW OFFICE
                                             9435 Waterstone Blvd. #140
                                             Cincinnati, OH 45249
                                             Phone: 513-444-2150
                                             Fax: 513-444-2099
                                             Email: Jek318@gmail.com
                                             Attorney for Robert Ray and Christopher Cantwell




                                        CERTIFICATE OF SERVICE

          I certify the above was served on July 25, 2019 by the Court’s CM/ECF system and
   upon non ECF participants as follows:

   Loyal White Knights of the Ku Klux Klan                      Moonbase Holdings, LLC
   a/k/a Loyal White Knights Church of                          c/o Andrew Anglin
   the Invisible Empire, Inc.                                   P.O. Box 208
   c/o Chris and Amanda Barker                                  Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379                                        Andrew Anglin
                                                                P.O. Box 208
   Augustus Sol Invictus                                        Worthington, OH 43085
   9823 4th Avenue
   Orlando, FL 32824                                            East Coast Knights of the Ku Klux Klan
                                                                a/k/a East Coast Knights of the
   Fraternal Order of the Alt-Knights                           True Invisible Empire
   c/o Kyle Chapman                                             26 South Pine St.
   52 Lycett Circle                                             Red Lion, PA 17356
    Daly City, CA 94015



   Elliott Kline eli.f.mosley@gmail.com
   Matthew Heimbach matthew.w.heimbach@gmail.com
   Vanguard America REDACTED
   Robert Ray at REDACTED
   Christopher Cantwell at REDACTED

                                                           s/ James E. Kolenich PHV
                                                           James E. Kolenich




                                                     4
